Case 2:04-cV-02780-.]P|\/|-de Document 15 Filed 05/16/05 Page 1 of 2 Page|D 36

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IN THE UNITED STATES DISTRICT CoURT FoR THE ,i<p/
WESTERN I)ISTRICT oF TENNESSEE, WESTERN DIvIsIoi\F"~ED Hf - ibm ’3-9-
KAREN LAWRENCE and REBECCA 05 HY~.Y 16 PH 5= 10
A. OWENS as the next of kin of
HELEN PRIMROSE deceased,

Plaintiffs,

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nrc or

 

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)
)
)
v. ) Civil Action No. 04~2780
)
KINDRED NURSING CENTERS )
LIMITED d/b/a SPRING GATE )
REHABILITATION & HEALTH )
CARE CENTERS, ET. AL., )
)
)

Defendants.

 

ORDER OF DISMISSAL PURSUANT TO FED. R. CIV. P. 41(a)(1)

 

In accordance With Rule 4](a)(l), and upon consideration of the Notice of Dismissal With
Prcjudice by Stipulation of the parties to Vo]untarily dismiss the above-entitled and numbered causc,
IT IS ORDERED that the above-styled and jnumbered cause be and the came is hereby

dismissed With prejudice as to all Defendants.

 

o` oRABLE J. DANIEL BREEN
U.S. ISTRICT CoURT JUDGE

Dated: maj /t¢=! 100 §‘

This document entered on the docket sheet in comp1ianca

with |’-lu?e 58 and/or 79{3) FHCP on 51 7'0:§

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 15 in
case 2:04-CV-02780 Was distributed by faX, mail, or direct printing on
May l7, 2005 to the parties listedl

 

 

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Honorable J on l\/lcCalla
US DISTRICT COURT

